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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
                                     CLERKS MINUTES - CIVIL


CASE NO.       519-cv-109                                         DATE:       9/27/2022
TITLE:     Brantley County Development Partners, LLC v. Brantley County, Georgia, et al.


HONORABLE BENJAMIN W. CHEESBRO COURTROOM DEPUTY CLERK: KIM MIXON
COURT REPORTER:
TAPE NO.       BWC-                TIME:      9:43 – 6:05           TOTAL:        8 HRS/22 MINUTES
               CHAMBERS
                                    COUNSEL FOR
COUNSEL FOR PLAINTIFF               DEFENDANT                        DEFENDANT
Mark Johnson                        Dana Maine                       Brantley County, Georgia, et al.


Settlement Conference held. No settlement reached. Parties will continue negotiations.
Court to set telephonic status call in two weeks for parties to provide update.
